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      Y                                     POLARIS INDUSTRIES INC.'S
                                               MEMORANDUM OF LAW IN
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32/$5,6,1'8675,(6,1&                        MOTION TO COMPEL


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